

People v DeLarosa (2023 NY Slip Op 04726)





People v DeLarosa


2023 NY Slip Op 04726


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Manzanet-Daniels, J.P., Mendez, Shulman, Rosado, O'Neill Levy, JJ. 


Ind. No. 3230/18 Appeal No. 625 Case No. 2019-4063 

[*1]The People of the State of New York, Respondent,
vAdilson DeLarosa, Defendant-Appellant.


Caprice R. Jenerson, Office of Appellate Defender, New York (Alexandra Ricks of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Anna Notchick of counsel), for respondent.



Judgment, Supreme Court, New York County (Curtis J. Farber, J., at plea; Steven M. Statsinger, J., at sentencing), rendered March 29, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree, and sentencing him, as a second violent felony offender, to a term of 10 years, unanimously affirmed.
Defendant did not preserve his Second Amendment challenge to his conviction under Penal Law § 265.03(3) based on the United State Supreme Court's decision in New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US &amp;mdash, 142 S Ct 2111 [2022]), and we decline to review the claim in the interest of justice (see People v Adames, 216 AD3d 519, 519-520 [1st Dept 2023]). As an alternative holding, we find that on the present record, defendant has failed to establish that Penal Law § 265.03 (3), or his conviction thereunder, was unconstitutional.
We perceive no basis for reducing defendant's sentence. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








